                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:12-cv-501-FDW
                                 3:05-cr-104-FDW-10

ALLEN MARSHELL MCCALL, JR.,                       )
                                                  )
                    Petitioner,                   )
               v.                                 )
                                                  )                 ORDER
UNITED STATES OF AMERICA,                         )
                                                  )
                     Respondent.                  )
                                                  )

        THIS MATTER is before the Court on an initial review of Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255. (Doc. No. 1). After reviewing

the motion and the record in this matter, the Court finds that Petitioner’s Section 2255 motion should

be denied and dismissed.

                                       I. BACKGROUND

       On November 2, 2006, Petitioner was convicted by a jury of one count of conspiracy to

possess with intent to distribute cocaine and cocaine base, in violation of 21 U.S.C. §§ 841(a)(1)

and 846. (3:05-cr-104, Doc. No. 381: Jury Verdict; Doc. No. 507: Judgment in a Criminal Case

at 2). The jury determined that Petitioner was responsible for at least 50 grams of a mixture of

cocaine and cocaine base, or crack cocaine. (Doc. No. 381 at 3).

       A presentence investigation report (“PSR”) was prepared and noted the Government filed

a notice pursuant to 21 U.S.C. § 851, prior to trial contending that Petitioner had a prior felony

drug conviction and was therefore subject to statutory enhancement under 21 U.S.C. §

841(b)(1)(A). (Doc. No. 179: Section 851 Notice). The previous drug conviction was identified

as a conviction of possession with intent to sell and deliver cocaine for which Petitioner was

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sentenced to a suspended term of 9-11 months in Mecklenburg County Superior Court. (Id.; Doc.

No. 617: PSR ¶ 51).

       On December 10, 2007, Petitioner appeared with counsel before the Court and was

sentenced to a term of 240-months imprisonment and Petitioner filed a timely notice of appeal to

the United States Court of Appeals for the Fourth Circuit. (Doc. No. 525). The Fourth Circuit

upheld Petitioner’s criminal judgment after noting no errors in proceedings before the trial court.

United States v. McCall, 332 F. App’x 49, 50 (4th Cir. 2009) (unpublished).

       On May 18, 2012, Petitioner, by and through counsel, filed a Motion to Reduce Crack

Sentence pursuant to 18 U.S.C. § 3852(c). (Doc. No. 739). This motion was denied by Order

entered on June 25, 2012, after the Court found that Petitioner was not entitled to relief because

the Sentencing Commission had not lowered Petitioner’s Guideline Range. (Doc. No. 749).

       On August 12, 2012, Petitioner, through counsel, filed the present Section 2255 motion

contending that he is entitled to relief under an en banc decision in United v. Simmons, 649 F.3d

237 (4th Cir. 2011). Petitioner contends that the Fourth Circuit’s holding in Simmons

demonstrates that his prior state felony drug conviction did not qualify him for a Section 851

sentencing enhancement. Even assuming that Petitioner’s prior felony drug conviction no longer

qualifies under Section 851, because a recent Fourth Circuit case, with a similar set of facts, held

that a sentence of 240-months under Section 841(b)(1)(A), with or without the enhancement, is

within the maximum as authorized by law, the Court will deny and dismiss Petitioner’s Section

2255 motion.

                                II. STANDARD OF REVIEW

       Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

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the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, the Court finds that no response is

necessary from the United States. Further, the Court finds that this matter can be resolved

without an evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

                                        III. DISCUSSION

       In Simmons, the Fourth Circuit held that in order for a prior felony conviction to serve as

a predicate offense [for either a crime of violence or a controlled substance offense], the

individual defendant must have been convicted of an offense for which that defendant could be

sentenced to a term exceeding one year. Simmons, 649 F.3d at 243 (emphasis added). In

reaching this holding, the Simmons Court expressly overruled United States v. Harp, 406 F.3d

242 (4th Cir. 2005), which held that in determining “whether a conviction is for a crime

punishable by a prison term exceeding one year [under North Carolina law] we consider the

maximum aggravated sentence that could be imposed for that crime upon a defendant with the

worst possible criminal history.” Id. (quoting Harp, 406 F.3d at 246) (emphasis omitted). In the

present case, the Court will assume for the purpose of the present motion only that based on his

PSR, Petitioner was not sentenced for a drug offense for which he could have been subject to a

sentence in excess of one year.

       Section 2255 provides a petitioner with an avenue to attack the legality of his sentence.

28 U.S.C. § 2255(a) provides as follows:

       A prisoner in custody under sentence of a court established by Act of Congress claiming
       the right to be released upon the ground that the sentence was imposed in violation of the
       Constitution or laws of the United States, or that the court was without jurisdiction to
       impose such sentence, or that the sentence was in excess of the maximum authorized
       by law, or is otherwise subject to collateral attack, may move the court which imposed
       the sentence to vacate, set aside or correct the sentence.


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(emphasis added).

       Following the enactment of 21 U.S.C. § 841(b)(1)(A), the Court was provided with a

defined range within which to sentence defendants. Section 841(b)(1)(A) provides that upon

conviction under Section 841(a) or 846, that a defendant is subject to minimum term of 10 years

and maximum term of life imprisonment. Following a conviction for a felony drug offense, or

one that carries a sentence of more than one year, the defendant is subject to a mandatory

minimum of 20-years to not more than life.

       The Fourth Circuit recently addressed a set of facts similar to the facts that are present in

Petitioner’s case. In United States v. Powell, 691 F.3d 554 (4th Cir. 2012), the Circuit held that

Powell's challenge to his twenty-year term of imprisonment based on a prior state drug

conviction for which he was not sentenced to more than one year must fail. In 2004, Powell had

been convicted under 21 U.S.C. § 846 of conspiring within intent to distribute crack cocaine.

Powell was sentenced pursuant to the provisions of 21 U.S.C.§ 841(b)(1)(A) which, as noted,

provides for a sentence of no less than ten years and not more than life imprisonment. The

Government, however, had filed a Section 851 notice of enhancement based on a prior controlled

substance offense. which had been filed by the Government. The Section 851 enhanced

Powell’s mandatory minimum sentence to 240-months imprisonment, subjecting Powell to a

sentence of no less than twenty years and not more than life . The Fourth Circuit held, however,

that despite the Section 851 notice, under § 841(b)(1)(A), Petitioner was still subject to a

maximum term of imprisonment of life. The Court then concluded that, despite the Section 851

notice, because Powell was still sentenced within the maximum term of life, he was not entitled




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to relief.1

        As has been explained, relief from a sentence in a Section 2255 proceeding is limited to

sentences which are imposed in excess of that maximum sentence as authorized by law. Section

2255(a). Therefore, even without consideration of Petitioner’s prior conviction as set forth in the

Government’s Section 851 notice, the Court had the discretion to sentence Petitioner to a term of

not less than ten years and not more than life imprisonment. Petitioner’s term of 240-months was

thus well within the authorized maximum sentence. Accordingly, Petitioner is not entitled to

relief in this Section 2255 proceeding.

                                       IV.    CONCLUSION

        IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255 motion is DENIED

and DISMISSED. (Doc. No.1).

        IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, this Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2);

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner

must demonstrate that reasonable jurists would find the district court's assessment of the

constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding


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            Note in particular Judge King’s comment in his dissenting opinion:

        As a case in point, Powell received Section 841(b)(1)(A)'s enhanced twenty-year
        statutory minimum sentence. Without the enhancement, Powell could have been
        sentenced to as little as ten years of imprisonment, but his statutory maximum would
        have yet been life. Thus, the twenty-year sentence imposed on Powell is within the
        unenhanced statutory maximum– as any such enhanced sentence
        subsection (b)(1)(A) sentence would necessarily be.

United States v. Powell, 691 F.3d 554, 562 n.1 (4th Cir. 2012).

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that when relief is denied on procedural grounds, a petitioner must establish both that the

correctness of the dispositive procedural ruling is debatable, and that the petition states a

debatably valid claim of the denial of a constitutional right).

                                                  Signed: October 11, 2012




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